






In The



Court of Appeals



Ninth District of Texas at Beaumont


____________________



NO. 09-07-423 CR


____________________



CHRISTOPHER C. WASHINGTON, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 99060






MEMORANDUM OPINION



	On August 13, 2007, the trial court sentenced Christopher C. Washington on a
conviction for possession of a controlled substance with sequenced prior felony convictions. 
Washington filed a notice of appeal on August 20, 2007.  The trial court entered a
certification of the defendant's right to appeal in which the court certified that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The
district clerk has provided the trial court's certification to the Court of Appeals.

	On August 28, 2007, we notified the parties that we would dismiss the appeal unless
the trial court filed an amended certification within thirty days of the date of the notice and
made it a part of the appellate record.  See Tex. R. App. P. 37.1.  The trial court has not
supplemented the record with an amended certification.

	Because the record does not contain a certification that shows the defendant has the
right of appeal, we must dismiss the appeal.  See Tex. R. App. P. 25.2(d).  Accordingly, we
dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

							                                                          

								STEVE McKEITHEN

								         Chief Justice

	


Opinion Delivered October 17, 2007

Do Not Publish


Before McKeithen, C.J., Kreger and Horton, JJ.


